       Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 1 of 26



                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND


WILLIAM CARTER, Individually and On        )
Behalf of All Others Similarly Situated,   )
                                           )
                  Plaintiff,               )
                                           )   Case No. 1:16-cv-03282-JKB
v.                                         )
                                           )
COLONY CAPITAL, INC., et al.               )
                                           )
                  Defendants.              )
                                           )

JACK BOOTHE, Individually and on           )
Behalf of All Others Similarly Situated,   )
                                           )
                    Plaintiff,             )   Case No. 1:16-cv-03742-JKB
                                           )
v.                                         )
                                           )
NORTHSTAR REALTY FINANCE                   )
CORP., et al.                              )
                                           )
                    Defendants.            )

CINDY KESSLER, Individually and on         )
Behalf of All Others Similarly Situated,   )
                                           )
                    Plaintiff,             )   Case No. 1:16-cv-03745-JKB
                                           )
v.                                         )
                                           )
NORTHSTAR ASSET MANAGEMENT                 )
GROUP, INC., et al.                        )
                                           )
                    Defendants.            )
                                           )
       Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 2 of 26



PLAINTIFFS’ JOINT MEMORANDUM OF LAW IN SUPPORT OF THE RENEWED
 JOINT MOTION FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENTS
         FILED IN EACH OF THE ABOVE-REFERENCED ACTIONS


BROWER PIVEN, A                            MONTEVERDE & ASSOCIATES PC
Professional Corporation                   Juan E. Monteverde
Charles J. Piven                           The Empire State Building
Yelena Trepetin                            350 Fifth Avenue, Suite 4405
1925 Old Valley Road                       New York, NY 10118
Stevenson, MD 21153                        Tel: (212) 971-1341
Tel: (410) 332-0030                        Fax: (212) 971-1341
Fax: (410) 685-1300
                                           Attorneys for Plaintiff William Carter
Attorneys for Plaintiffs William Carter,
Jack Boothe and Cindy Kessler
                                           Guri Ademi
Nadeem Faruqi                              Shpetim Ademi
James M. Wilson, Jr.                       ADEMI & O’REILLY, LLP
FARUQI & FARUQI, LLP                       3620 East Layton Ave.
685 Third Avenue, 26th Floor               Cudahy, WI 53110
New York, NY 10017                         Tel: (414) 482 -8000
Tel: (212) 983-9330                        Fax: (414) 482-8001
Fax: (212) 983-9331
                                           Attorneys for Plaintiff Cindy Kessler
Attorneys for Plaintiff Jack Boothe
           Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 3 of 26



                                                   TABLE OF CONTENTS

PRELIMINARY STATEMENT .................................................................................................... 1 

PLAINTIFFS’ COUNSEL ACHIEVED SIGNIFICANT EQUITABLE....................................... 2 

RELIEF FOR THE CLASSES ON AN EXPEDITED BASIS, FOLLOWED BY A
     THOROUGH INVESTIGATION OF ADDITIONAL CLAIMS THE RENWED FEE
     AND EXPENSE REQUESTS SHOULD BE APPROVED BASED ON THE
     STANDARDS ADOPTED BY THE FOURTH CIRCUIT................................................ 4 

          A.         Contingency of the Fee is a Significant Factor (Factor 6) ...................................... 5 

          B.         The Award Sought is Commensurate with the Results Obtained (Factor 8) .......... 7 

                     1.         Plaintiffs Obtained the Primary Result Sought ........................................... 8 

                     2.         The Results Achieved Benefitted the Classes and Merits Approval of
                                the Revised Fee ........................................................................................... 9 

          C.         The Revised Fees are Customary for this Type of Work and Litigation
                     (Factors 5 & 12) .................................................................................................... 13 

          D.         Time and Labor Expended (Factor 1) ................................................................... 14 

          E.         The Novelty and Difficulty of Questions Raised by the Litigation (Factor 2),
                     the Skill Required to Properly Perform the Legal Services Rendered
                     (Factor 3), and the Time Limitations Imposed by the Circumstances
                     (Factor 7)............................................................................................................... 15 

          F.         Opportunity Cost Due to Acceptance of these Cases (Factor 4) .......................... 16 

          G.         Experience, Reputation and Ability of Plaintiffs’ Counsel (Factor 9).................. 17 

THE REVISED FEE AND EXPENSE AWARD IS REASONABLE UNDER A
     LODESTAR ANALYSIS APPLYING THE LOCAL RULES’ GUIDELINES IN
     APPENDIX B ................................................................................................................... 18 

          A.         The Revised Fee Requests are Reasonable Measured Against Plaintiffs’
                     Counsels’ Lodestar................................................................................................ 18 

PLAINTIFFS RENEW THE MOTION THAT THE CLASS BE CERTIFIED FOR
     SETTLEMENT PURPOSES ............................................................................................ 21 

CONCLUSION ............................................................................................................................. 22




                                                                       i
        Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 4 of 26



                                 PRELIMINARY STATEMENT

       Plaintiffs1, by their undersigned attorneys, respectfully submit this Joint Memorandum of

Law in Support of their Renewed Joint Motion for Final Approval of Class Action Settlements

(“Renewed Motion”).2 Plaintiffs submit this Renewed Motion pursuant to the Court’s October 27,

2017 Memorandum and Order (“October 27 Order”) (ECF No. 29 in the Colony Action; ECF No.

25 in the NRF Action; ECF No. 32 in the NSAM Action) entered after the final approval hearing

(“Final Approval Hearing”) to address the following issues in support of a total fee and expense

award of $987,196.50: (i) the short period of time between the filing of suit and the objectives

achieved; (ii) the outcome of the case in relation to the fee sought; and (iii) information regarding

counsel’s fees and expenses consistent with the standards set forth in In re Abrams & Abrams, 605

F.3d 238, 244 (4th Cir. 2010) and the methodology set out in this Court’s Rules and Guidelines

for Determining Attorneys’ Fees in Certain Cases (“ Appendix B”).3


1
       Plaintiff Carter and Colony Capital shareholders are represented by Monteverde &
Associates PC; Plaintiff Kessler and NSAM shareholders are represented by Ademi & O’Reilly,
LLP; and Plaintiff Boothe and NRF shareholders are represented by Faruqi & Faruqi, LLP.
Brower Piven, P.C. has acted as liaison counsel in each Action (“Plaintiffs’ Counsel”).
2
        Plaintiffs incorporate by reference the prior filings made in support of their motion for final
approval of the proposed settlements in these Actions (“Motion for Final Approval”) (ECF Nos.
21 to 21-4 in the Colony Action; ECF Nos. 14 to 14-4 in the NRF Action; ECF Nos. 17 to 17-4 in
NSAM Action), response to the objections (“Response”) (ECF Nos. 26 to 26-6 in the Colony
Docket; ECF Nos. 23 to 23-6 in NRF Action; ECF Nos. 28 to 28-6 in NSAM Action). All
capitalized terms that are not otherwise defined herein shall have the same definitions as set forth
in the Motion for Final Approval.
3
        Plaintiffs continue to assert that Appendix B rates should not apply here because “the
market for class action attorneys is nationwide and populated by very experienced attorneys with
excellent credentials”, In re Microstrategy, Inc. Securities Litigation, 172 F. Supp. 2d 778, 788-
788 & n.33 (E.D. Va. 2001), and the non-binding Appendix B rates are more appropriate in cases
involving public institutions in which taxpayers ultimately bear the fee, not private parties. See
e.g., Dillon v. Maryland-National Capital Park & Planning Comm’n, No. WGC-04-994, 2007
U.S. Dist. LEXIS 94000, at *34 (D. Md. Mar. 9, 2007) (fee petition for claims brought against a
Maryland state agency); In re Mkt. Ctr. E. Retail Prop., Inc., 730 F.3d 1239, 1247 (10th Cir. 2013)
(rejecting argument that lodestar should not be enhanced by multiplier in actions where fees are

                                                  1
        Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 5 of 26



         PLAINTIFFS’ COUNSEL ACHIEVED SIGNIFICANT EQUITABLE
        RELIEF FOR THE CLASSES ON AN EXPEDITED BASIS, FOLLOWED
          BY A THOROUGH INVESTIGATION OF ADDITIONAL CLAIMS

       The proposed Settlements should be approved in view of the significant benefits obtained

for each Class and the lack of any viable additional claims to pursue regarding the Transaction.

       These cases were brought under Section 14(a) of the Securities Exchange Act of 1934

(“Exchange Act”) based on the joint proxy statement/prospectus issued by Colony Capital, NSAM,

and NRF (“Proxy Statement”) to each company’s shareholders. Plaintiffs alleged that the Proxy

Statement was false and/or misleading in violation of Section 14(a) due to the following material

omissions and/or deficiencies: (i) incorrect financial metrics that were utilized by NSAM’s

financial advisor Goldman Sachs & Co. (“Goldman Sachs”) to opine to NSAM’s board of directors

that the Merger Consideration was fair; and (ii) the omission of projections that were necessary to

properly assess the non-GAAP (generally accepted accounting principles) financial measures for

each company included in the Proxy Statement. As discussed with the Court at the Final Approval

Hearing, Plaintiffs sought equitable relief in the form of a corrected Proxy Statement prior to the

shareholders’ votes.

       The determination that the financial metrics and complex valuation analyses in the Proxy

Statement4 (a hundreds-page long document concerning three separate entities participating in a

merger of equals) were false and/or misleading required extensive review by Plaintiffs’ Counsel.

Further, the review of the Proxy Statement and various other SEC filings and public information



borne by private parties instead of taxpayers). Regardless, as set forth below, the requested fees
are reasonable applying either the requested hourly rates or those set forth in Appendix B.
4
       Defendants filed three amended Proxy Statements on September 15, October 17 and
November 14, 2016, each of which had to be reviewed to determine if Defendants addressed the
Section 14(a) allegations.



                                                2
        Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 6 of 26



related to the Transaction had to be performed on a truncated basis in view of the fact that a vote

date was imminent. Indeed, shortly after the filing of the Kessler Complaint (for the NSAM

shareholders) and Boothe Complaint (for the NRF shareholders) on November 18, 2016,

Defendants set December 20, 2016 as the date for the special meetings at which shareholders

would cast their votes regarding the Transaction.

       When the vote date was established, Plaintiffs’ Counsel moved quickly to enjoin the

Transaction unless and until the material deficiencies in the Proxy Statement were corrected. As

discussed with the Court at the Final Approval Hearing, an agreement on the substance of the

corrected and supplemented Proxy Statement was reached after hard fought negotiations over

several days. However, the agreement on the Supplemental Disclosures did not end the cases.5

To be clear, the entry into the Memorandums of Understanding (“MOU”) on December 9, 2016

was not a settlement, but rather was the beginning of the next stage of the litigation. The MOU

reflected the conditions that had to be met to proceed with a settlement, which included the

production of discovery and taking two depositions in each case (a board member and a financial

advisor) sufficient for Plaintiffs’ Counsel to determine if there were additional viable claims

pertaining to the Transaction and whether the dissemination of the Supplemental Disclosures was

a fair and adequate basis to settle claims. This additional investigation into claims (which involved




5
        Moreover, even if, as recognized by the Court, Plaintiffs’ objectives were achieved in a
short period of time, the Fourth Circuit Court of Appeals has made clear that a plaintiff’s counsel
working solely on a contingency basis should not be penalized with a fee reduction for
comprehending strategic implications of defendant’s positions that can work to plaintiff’s
advantage, resulting in a quick settlement. In re Abrams & Abrams, 605 F.3d at 248; see also
Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1050 n.5 (9th Cir. 2002) (“We do not mean to imply
that class counsel should necessarily receive a lesser fee for settling a case quickly; in many
instances, it may be a relevant circumstance that counsel achieved a timely result for class members
in need of immediate relief.”).



                                                 3
        Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 7 of 26



the examination of internal financial information prepared by the financial advisors and presented

to each Company’s board of directors) was conducted primarily from April through June 2017.

Thereafter, the parties reached the terms of a final settlement. As pointed out to the Court at the

Final Approval Hearing, the terms of the Settlement Agreement, including the scope of the release

of claims, were reached prior to an agreement on the payment by Defendants of the requested

attorney’s fees and expenses.6

       In sum, Plaintiffs’ Counsel worked diligently in a truncated period of time to ensure that

each company’s shareholders had the material information they needed to cast an informed vote

regarding the Transaction, and thereafter conducted significant additional work during the

discovery process to investigate whether there were any additional claims related to the

Transaction that warranted pursuing. The benefits obtained for the Classes, both as a result of the

Supplemental Disclosures and the discovery process, warrant approving the proposed Settlements

and the revised requested fee and expense awards. As discussed below, when the benefits obtained

for the Classes and all the additional applicable factors are analyzed, the revised requested fee and

expense awards in the aggregate for $987,196.50 is fair and reasonable and allocated as follows:

(i) $321,721.55 in the Colony Capital Action; (ii) $328,315.81 in the NRF Action; and (iii)

$337,159.14 in the NSAM Action (“the Fee and Expense Awards”).

           THE RENWED FEE AND EXPENSE REQUESTS SHOULD BE
    APPROVED BASED ON THE STANDARDS ADOPTED BY THE FOURTH CIRCUIT

       The Fee and Expense Awards in each of these cases is reasonable under the factors adopted

by the Fourth Circuit Court of Appeals. See Fed. R. Civ. P. 23(h) (“[i]n a certified class action,



6
       This fact is important to the Court’s review of the revised fee applications. See Moore v.
Verizon Commc’ns Inc., No. C 09-1823 SBA, 2013 U.S. Dist. LEXIS 15609, at *48 (N.D. Cal.
Feb. 5, 2013) (noting that party agreeing to pay attorneys’ fees as part of settlement has one
“ultimate objective - paying as little as possible. . . .”).

                                                 4
        Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 8 of 26



the court may award reasonable attorney’s fees and nontaxable costs that are authorized by law or

by the parties’ agreement.”); see In re Abrams & Abrams, 605 F.3d at 244 (directing district courts

to follow the twelve factors set forth in Johnson v. Georgia highway Express, Inc., 488 F.2d 714,

717-19 (5th Cir. 1974) as adopted in Barber v. Kimbrell’s, Inc., 577 F.2d 216, 226 (4th Cir. 1978)

(applied to an action under the fee-shifting Truth in Lending Act) and Allen v. U.S., 606 F.2d 432,

433 n.1 (4th Cir. 1979) (applied when fee request is based on a private fee agreement)).

       In In re Abrams & Abrams, the Fourth Circuit reiterated the factors that district courts

should consider when assessing a fee request:

       (1) the time and labor required in the case, (2) the novelty and difficulty of the
       questions presented, (3) the skill required to perform the necessary legal services,
       (4) the preclusion of other employment by the lawyer due to acceptance of the case,
       (5) the customary fee for similar work, (6) the contingency of a fee, (7) the time
       pressures imposed in the case, (8) the award involved and the results obtained, (9)
       the experience, reputation, and ability of the lawyer, (10) the “undesirability” of the
       case, (11) the nature and length of the professional relationship between the lawyer
       and the client, and (12) the fee awards made in similar cases.

605 F.3d at 244, citing Allen, 606 F.2d at 436 n. 1.7

       A.      Contingency of the Fee is a Significant Factor (Factor 6)

       The Court should give considerable weight to the fact that each firm in these cases

undertook representation on a contingency basis.8

       As the Fourth Circuit long ago recognized:

               The contingency of compensation . . . is highly relevant in the
               appraisal of the reasonableness of any fee claim. The effective
               lawyer will not win all of his cases, and any determination of the

7
       Although some factors may not apply in every case, those that do should be examined. In
re Abrams & Abrams, 605 F.3d at 244.
8
       Factor 10, the undesirability of the action, is relevant only to the extent that the contingency
element of these putative class actions represents excessive risk for many firms. Additionally,
Factor 11, the nature and length of the professional relationship with the client, should not be
considered, as the litigation centered on a Transaction that was first announced on June 3, 2016.



                                                  5
         Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 9 of 26



                reasonableness of his fees in those cases in which his client prevails
                must take account of the lawyer’s risk of receiving nothing for his
                services. Charges on the basis of a minimal hourly rate are surely
                inappropriate for a lawyer who has performed creditably when
                payment of any fee is so uncertain.

McKittrick v. Gardner, 378 F.2d 872, 875 (4th Cir. 1967). The significance of this factor has been

reaffirmed on numerous occasions. Indeed, in In re Abrams & Abrams, the Fourth Circuit

emphasized the importance of this factor – which allows access to the courts to those not otherwise

able to pursue claims, and transfers significant risk onto plaintiff’s counsel. As the Fourth Circuit

explained in holding that a district court failed to properly factor the contingent nature of the fee

into its analysis:

                [C]ontingency fees provide access to counsel for individuals who
                would otherwise have difficulty obtaining representation . . . . [I]t
                may be necessary to provide a greater return than an hourly fee
                offers to induce lawyers to take on representation for which they
                might never be paid . . . . In other words, plaintiffs may find it
                difficult to obtain representation if attorneys know their reward for
                accepting a contingency case is merely payment at the same rate
                they could obtain risk-free for hourly work, while their downside is
                no payment whatsoever.9

605 F.3d at 245-46.

        Other courts have similarly emphasized the significance of the risks assumed by plaintiff’s

counsel in contingency cases, including those cases where a resolution is achieved early in the

litigation:

                Here the district court erred in basing its denial of a risk multiplier
                on the fact that the parties settled at a relatively early stage in the
                litigation. The point at which plaintiffs settle with defendants (or
                win a judgment against defendants) is simply not relevant to
                determining the risks incurred by their counsel in agreeing to
                represent them . . . . when attorneys' receipt of payment is contingent

9
        Importantly in this regard, the fee guidelines of Appendix B do not account for any risks
assumed by counsel in contingency cases, and as far as negotiated fee agreements between private
parties are concerned, Appendix B veers far from the Fourth Circuit’s directions. See In re Abrams
& Abrams, 605 F.3d at 246.

                                                  6
       Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 10 of 26



               on the success of the litigation, reasonable compensation may
               demand more than the hourly rate multiplied by the hours worked,
               for that is exactly what the attorneys would have earned from clients
               who agreed to pay for services regardless of success. Thus, to
               account for the contingent nature of the compensation, a court
               should assess the riskiness of litigation.

Skelton v. General Motors Corp., 860 F.2d 250, 257-58 (7th Cir. 1988) (emphasis added); see also

In re Microstrategy, Inc. Sec. Litig., 172 F. Supp. 2d 778, 788 (E.D. Va. 2001) (“to reward lead

counsel for the favorable result achieved for the class and to provide an incentive for competent

lawyers to pursue such actions in the future on an essentially contingent basis, the ultimate award

must be substantially greater than the lodestar figure.”); In re Schering-Plough/Merck Merger, No.

09-CV-1099 (DMC), 2010 U.S. Dist. LEXIS 29121, at *55-58 (D.N.J. Mar. 26, 2010) (applying

multiplier of 2.18 in disclosure-only settlement and noting that a multiplier of 3 may be awarded

even in “a simple case where no risks pertaining to liability or collection were pertinent,” and that

“the application of a multiplier of 2.18 is not uncommon where the lodestar method is applied.”)

(internal quotation marks omitted).

       In this case, the Court should give considerable weight to the fact that each of Plaintiffs’

Counsel undertook representation on a contingency fee basis on behalf of relatively small

shareholders who would have been unable to pay for experienced counsel to protect their corporate

suffrage rights and investigate the fairness of the Transaction. Plaintiff’s Counsel risked receiving

nothing for their work had they been unable to procure the material disclosures.

       B.      The Award Sought is Commensurate with the Results Obtained (Factor 8)

       As mentioned above, Plaintiffs in each case alleged that the Defendants’ solicitation

materials were false and/or misleading in violation of Section 14(a) of the Exchange Act and

sought primarily to obtain injunctive relief – either to compel the issuance of the Supplemental

Disclosures prior to the vote, or postpone the vote until those disclosures were made – to ensure a



                                                 7
       Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 11 of 26



fully informed vote could occur. “[T]he promotion of corporate suffrage regarding a significant

policy issue confers a substantial benefit regardless of the percentage of votes cast for or against

the proposal at issue.” Amalgamated Clothing & Textile Workers Union v. Wal-Mart Stores, 54

F.3d 69, 72 (2d Cir. 1995); see also Kopet v. Esquire Realty Co., 523 F.2d 1005, 1008 (2d Cir.

1975) (finding fee award warranted where litigation caused company to disclose financial

statements). Plaintiffs obtained the primary relief sought, and the revised fee award is more than

reasonable based on the material equitable benefit achieved for the Classes.

               1.      Plaintiffs Obtained the Primary Result Sought

       Where there are material deficiencies in solicitation documents seeking shareholder

approval, the preferred remedy is disclosure before the merger. See, e.g., Aron v. Crestwood

Midstream Partners LP, No. 4:15-CV-1367, 2016 U.S. Dist. LEXIS 152427, at *11 (S.D. Tex.

Oct. 14, 2016) (“In Section 14(a) cases concerning non-disclosure in proxy statements, plaintiffs

are made whole where the company fully and adequately discloses material facts before the

shareholder vote.”); Nowling v. Aero Servs. Int’1, Inc., 734 F. Supp. 733, 741 (E.D. La. Apr. 4,

1990) (finding that injunctive relief is appropriate for Section 14(a) claims involving omissions

from a proxy statement).

       Plaintiffs sought to obtain the Supplemental Disclosures prior to the December 20, 2016

shareholder vote, as forcing shareholders to vote based on the false and misleading Proxy

Statement would have caused them to suffer irreparable harm. As argued to the Court in their

Motion for Preliminary Injunction (ECF Nos. 4 to 4-4 in the Colony Action; ECF Nos. 3 to 3-4 in

the NRF Action; ECF Nos. 3 to 3-4 in the NSAM Action), “when it appears likely that the offer

may contain materially misleading statements or omissions as made, the interest of the

shareholders and of the public in full disclosure of relevant circumstances renders preliminary

injunctive relief an appropriate method of remedying the deficiencies in disclosure before the offer


                                                 8
       Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 12 of 26



is consummated.” Sonesta Int’l Hotels Corp. v. Wellington Assoc., 483 F.2d 247, 250-51 (2d Cir.

1973); Chambers v. Briggs & Stratton Corp., 863 F. Supp. 900, 905 (E.D. Wis. 1994) (“Since the

defendant’s proxy statement contained a material omission, the shareholder vote will go forward

on the basis of potentially misleading information unless the court grants the plaintiff's request for

injunctive relief. The Supreme Court has recognized that ‘use of solicitation which is materially

misleading poses the kind of irreparable injury to stockholders which can justify injunctive relief

prior to a shareholder’s meeting.’”) (quoting Mills v. Elec. Auto-Lite Co., 396 U.S. 375, 383

(1970)).

               2.      The Results Achieved Benefitted the Classes and Merits Approval of
                       the Revised Fee

       Recognizing that the Exchange Act’s “fundamental purpose” is to ensure “full disclosure,”

Hunt v. Robinson, 852 F.2d 786, 787 (4th Cir. 1988), courts have consistently approved settlements

and fee awards where corporations agree to provide shareholders with previously withheld

material information concerning a corporate transaction in exchange for a release of unviable or

mooted fiduciary duty and federal securities law claims related to the transaction. See infra § C.

Here, the shareholders of Colony Capital, NSAM and NRF received previously undisclosed

material information that was omitted from the Proxy Statement.10

       The Supplemental Disclosures have been discussed at length in the Motion for Final

Approval and the Response, and were discussed with the Court at the Final Approval Hearing.

(Motion for Final Approval 13-21; Response 4-9; Tr. of Fairness Hr’g 11-12, 46). Briefly, they

revealed that the estimates of NSAM’s levered free cash flows for the second quarter of 2016


10
        A fee award is appropriate under the “common benefit” doctrine when a plaintiff obtains a
common benefit for shareholders, such as enhancing proxy disclosures. See Mills v. Elec. Auto-
Lite Co., 396 U.S. 375, 395-96 (1970); Schering-Plough/Merck Merger Litig., 2010 U.S. Dist.
LEXIS 29121, at *47 (awarding $3.5 million fee in disclosure-only settlement because “a common
benefit was rendered and a fee award is appropriate.”).

                                                  9
       Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 13 of 26



through the fourth quarter of 2016 used in the Illustrative Discounted Cash Flow Analysis (“DCF”)

of NSAM did not reflect NSAM’s financial forecasts, which error caused certain calculations

performed by Goldman Sachs to support its fairness opinion, as summarized in the Proxy

Statement, to be incorrect: (i) the range of illustrative present values derived from the DCF

analyses; (ii) the range of NSAM’s equity percentage of the combined pro forma company

resulting from the leveraged discounted cash flow and dividend discount model contribution

analysis; and (iii) the range of implied equity values resulting from the illustrative NSAM’s

standalone levered discounted cash flow to illustrative dividend discount model analysis. The

Supplemental Disclosures corrected the NSAM estimates and calculations in the valuation

analyses, and were clearly material. See e.g., In re Pure Res. S’holders Litig., 808 A.2d 421, 449

(Del. Ch. 2002) (“The real informative value of the banker’s work is not in its bottom-line

conclusion, but in the valuation analysis that buttresses that result.”); In re The Topps Co. S’holders

Litig., 926 A.2d 58, 76-77 (Del. Ch. 2007) (financial advisor’s changes to valuation were not

explained and the proxy statement was therefore materially misleading).

       Plaintiffs also alleged that Defendants’ failure to reconcile certain of management’s non-

GAAP projected financial measures to the most equivalent GAAP measure in the Proxy Statement

violated SEC Regulation G, which mandates that when an issuer discloses a non-GAAP measure,

the issuer must provide reconciliation “by schedule or other clearly understandable method” of the

non-GAAP measure to the “most directly comparable” GAAP measure. 17 C.F.R. § 244.100(a).

The newly disclosed projected financial measures were material to each company’s shareholders,

and were necessary to properly understand the non-GAAP measures in the Proxy. See e.g., Azar

v. Blount Int’l, Inc., No. 3:16-cv-483-SI, 2017 U.S. Dist. LEXIS 39493, at *15-16 (D. Or. Mar.

20, 2017) (collecting cases and explaining “[t]he established case law shows the importance (and,




                                                  10
       Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 14 of 26



hence, materiality) of financial projections to shareholders’ decision-making.”)); Brown v. Brewer,

No. CV 06-3731-GHK (SHx), 2010 U.S. Dist. LEXIS 60863, at *70 (C.D. Cal. June 17, 2010)

(“A reasonable shareholder would have wanted to independently evaluate management’s internal

financial projections to see if the company was being fairly valued. There is a substantial likelihood

that a reasonable shareholder would consider it important in making his decision”) (internal

quotation marks omitted); Schulein v. Petroleum Dev. Corp., No. SACV 11-1891 AG (ANx), 2014

U.S. Dist. LEXIS 71236, at *19 (C.D. Cal. May 19, 2014) (same). Further, “if a Proxy discloses

valuation information, it must be complete and accurate.” Smith v. Robbins & Myers, Inc., 969 F.

Supp. 2d 850, 874 (S.D. Ohio 2013) (quoting Brown, 2010 U.S. Dist. LEXIS 60863, at *69-70);

see SEC v. Nat’l Student Mktg. Corp., 457 F. Supp. 682, 707 (D.D.C. 1978) (“[i]n a merger

transaction such as that presented here, accurate financial information is necessary in order for a

shareholder fairly to be able to vote.”); SEC v. Mayhew, 121 F.3d 44, 52 (2d Cir. 1997) (material

facts “include any fact ‘which in reasonable and objective contemplation might affect the value of

the corporation’s stock or securities.’”). The Supplemental Disclosures provided a reconciliation

of certain critical non-GAAP financial metrics to their most comparable GAAP equivalents in the

financial projections for Colony Capital, NSAM and NRF, respectively.

       In sum, the Settlements provided the Classes with the precise relief that Plaintiffs sought

to obtain and were the exact same as the “reward[] the class would have received following a

successful” litigation outcome. See Reed v. General Motors Corp., 703 F.2d 170, 172 (5th Cir.

1983). The Supplemental Disclosures were necessary to properly demonstrate the value of each

company’s prospects in relation to the Merger Consideration, i.e., to inform shareholders of what

they were giving up in exchange for the Merger Consideration. Courts across the country have

uniformly recognized such information is beneficial to shareholders. As set forth at length in the




                                                 11
       Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 15 of 26



Affidavit of Plaintiffs’ Valuation and Financial Expert, M. Travis Keath, CFA, CPA/ABV (“Keath

Aff.”) (ECF No. 21-2 in the Colony Action; ECF No. 14-2 in the NRF Action; ECF No. 17-2 in

the NSAM Action):

               [T]he Supplemental Disclosures provided material additional
               information necessary to further stockholders’ understanding
               of key financial information and pricing calculations related to
               the Merger. As such, the Supplemental Disclosures represented
               a substantial benefit to the respective stockholders of Colony
               Capital, NSAM and NRF in their evaluation of the Merger and
               the sufficiency of the Merger Consideration.

Keath Aff. ¶ 19 (emphasis added).

       Further, the Settlements entitled Plaintiffs, on behalf of the Classes, to conduct discovery

and independently vet the fairness of the Transaction to each group of shareholders. Courts have

recognized this process, by which “the merits of the proposed merger have been independently

vetted and revealed to the class members”, also constitutes a benefit to shareholders. Brody v.

Catell, No. 8835/06, 2007 N.Y. Misc. LEXIS 4647, at *22 (N.Y. Sup. Ct. June 27, 2007) (“The

Settlement does not afford a monetary return to the plaintiff class. However, through the efforts of

plaintiffs’ counsel, the merits of the proposed merger have been independently vetted and revealed

to the class members, who have determined that it is desirable and provides a favorable return on

their investment. Such benefit is both sufficient and meaningful.”); Jiannaras v. Alfant, No.

21262/09, 2012 N.Y. Misc. LEXIS 6692, at *21-22 (N.Y. Sup. Ct. Jan. 10, 2012) (same); see also

Schering-Plough/Merck Merger Litig., 2010 U.S. Dist. LEXIS 29121, at *55-58 (approving agreed

to fee of $3.5 million in disclosure-only settlement where lodestar included time spent on discovery

conducted after the dissemination of the supplemental information). The additional benefit of

discovery to independently vet the Transaction was meaningful to the Classes, particularly in light




                                                12
       Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 16 of 26



of the significant information asymmetry problems shareholders face in assessing the fairness of

major corporate transactions. As one legal scholar recently explained:

               Shareholders also face acute AIPs [asymmetrical information
               problems] when they decide whether they should file lawsuits and
               when they prosecute such lawsuits. The most sensitive and delicate
               facts crucial to the court’s determination on the merits of the
               shareholders’ fiduciary duty claims against Gatekeepers are in the
               hands (or minds) of the fiduciaries or those on the fiduciaries’ side.
               Shareholders are not necessarily privy to the intricacies of the
               Gatekeepers’ decision-making processes during the Gatekeeping
               Phase. Of course, extensive disclosures may be made to the public.
               Such information, however, is typically insufficient to evaluate
               whether the Gatekeepers have complied with their duties. Moreover,
               it is difficult for shareholders to know if the disclosure is adequate
               unless they have access to undisclosed information. In addition,
               agents may try to finesse their public disclosure to avoid giving any
               hint of impropriety. In short, shareholder lawsuits are “outsider-
               looking-in litigation” and are plagued by acute AIPs.

Kenju Watanabe, Control Transaction Governance: Collective Action and Asymmetric

Information Problems and Ex post Policing, 36 NW J. Int’l L. & Bus. 45, 68 (Winter 2016).

       C.      The Revised Fees are Customary for this Type of Work and Litigation
               (Factors 5 & 12)

       As illustrated by the table below for comparable disclosure merger settlements, the

requested Fee and Expense Awards are well within the range of attorneys’ fees and expenses

approved in similar cases where the settlement consisted of supplemental disclosures in company

filings prior to a scheduled shareholder vote, which required short but quick action by plaintiff’s

attorneys on a truncated time frame to ensure an informed vote as required by the law.

              Case                       Supplemental Disclosures                 Approved
                                                                               Attorney’s Fees
 Douglas v. Witney, No. 16-cv-     Financial projections and additional      $1 million (Trepetin
 00921,                            information concerning the financial      Decl. Ex. 1)11
                                   advisor’s conflict of interest


11
       The Declaration of Yelena Trepetin in Support of Plaintiffs’ Renewed Joint Motion for
Final Approval of Class Action Settlements and Award of Fees and Costs filed herewith is referred

                                                13
       Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 17 of 26



 Final Order and J. 4 (N.D. Cal
 Dec. 27, 2016)
 In re Broadcom Corp.              Additional information concerning         $1.125 million
 Stockholder Litig.,               financial advisor’s analyses, financial   (Trepetin Decl. Ex.
 No. SA 15-cv-00979 JVS            projections, and additional               2)
 (PJWx), Order on Lead             information regarding the
 Counsel’s Mot. For Award of       background of the merger
 Attys’ Fees and Expenses
 (C.D. Cal. Feb. 27, 2017)
 Lambert v. Tellabs, Inc.,         Additional information concerning         $750,000 (Trepetin
 No. 1:13-cv-07945, Final          financial advisor’s analyses and          Decl. Ex. 3)
 Order and J. 9 (N.D. Ill. Sept.   additional information regarding the
 11, 2015)                         background of the merger
 Nichting v. DPL Inc., No.         Unlevered free cash flow projections      $700,000 (Trepetin
 3:11-cv-141,                                                                Decl. Ex. 4)
 Order and Final J. 7 (S.D.
 Ohio Feb. 24, 2012)
 In re Crestwood Midstream         Financial projections                     $595,000 (Trepetin
 Partners Unitholder Litig.,                                                 Decl. Ex. 5)
 No. 4:13-cv-01528, Order and
 Final J. 7 (S.D. Tex. May 16,
 2014)
 Collier v. BrightPoint, Inc.,     Additional information concerning         $600,000 fee
 No. 1:12-cv-1016-TWP-DKL,         financial advisor’s analyses
 2013 U.S. Dist. LEXIS 62125,
 at *9 (S.D. Ind. May 1, 2013)
 Cooke v. Equal Energy Ltd.,       Additional information concerning         $650,000 fee
 No. 5:14-cv-00087-C, Fed.         financial advisor’s compensation,         (Trepetin Decl. Ex.
 Court Order and Final J. 8        financial analyses, and financial         6)
 (W.D. Okla. Apr. 8, 2015)         projections
 In re Schering-Plough/Merck       Information regarding company’s           $3.5 million fee
 Merger Litig., No. 09-CV-         stock price, background of the
 1099 (DMC), 2010 U.S. Dist.       merger, and a news article that
 LEXIS 29121, at *58 (D.N.J.       impacted the company’s stock price.
 Mar. 25, 2010)


       D.      Time and Labor Expended (Factor 1)

       Plaintiffs’ Counsel have expended substantial time and resources to litigate the Actions.

As discussed above, this case was diligently prosecuted to obtain relief prior to the December 20,




to as “Trepetin Decl.”.

                                                14
        Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 18 of 26



2016 shareholder vote on the Transaction, and thereafter significant time was invested to

investigate class claims prior to reaching the final proposed settlement terms. See also infra at 20

(setting forth the lodestar for each firm).

        E.     The Novelty and Difficulty of Questions Raised by the Litigation (Factor 2),
               the Skill Required to Properly Perform the Legal Services Rendered (Factor
               3), and the Time Limitations Imposed by the Circumstances (Factor 7)

        Successfully litigating these Actions required Plaintiffs’ Counsel to conduct thorough

factual investigations under significant time pressure. Specifically, Plaintiffs’ Counsel reviewed

voluminous corporate filings and analyzed complex valuation analyses and financial data on an

expedited basis. Plaintiffs’ Counsel then acted diligently in preparing detailed pleadings and/or

preliminary injunction motions, which were necessary to prevent the Classes from suffering the

irreparable harm of an uninformed shareholder vote. Substantial experience and skill in corporate

law and merger and acquisition transactions was required in reviewing all the relevant SEC filings

regarding each of the companies and the Transaction (including the various iterations of the Proxy

Statements regarding the Transaction, Annual Proxy Statements, 10-Ks, 10-Qs, and 8-Ks), public

news articles and analyst reports regarding each company, and the non-public documents obtained

through discovery in order to assess the adequacy of the disclosures.

        Plaintiffs’ Counsel also conducted thorough discovery after the Supplemental Disclosures

were issued, including six depositions, to assess whether any post-close claims were viable, which

required expertise in applicable corporate and securities law. Plaintiffs’ Counsel researched,

reviewed and analyzed the legal issues presented by the merger-related claims and the Individual

Defendants’ fiduciary duties under the laws of Maryland and Delaware in the merger context as

well as their available defenses. All of this review was necessary to assess the scope for continuing

litigation.




                                                 15
       Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 19 of 26



         All of the services provided by Plaintiffs’ Counsel required not only substantial

experience and expertise in shareholder litigation, but also the ability to provide expert services

under tight time constraints against Defendants represented by large, highly-regarded law firms.

Plaintiffs’ Counsel faced time pressures to obtain equitable relief prior to the shareholder vote on

the Transaction. Given the short time frame to obtain this equitable benefit, the primary relief

sought in the complaints, Plaintiffs’ Counsel were under pressure to ensure the shareholders of

Colony Capital, NSAM and NRF were equipped with all material information necessary to make

a fully informed decision. This accelerated process is unique to the merger-related litigation

context, and Plaintiffs’ Counsel respectfully submit that the Settlements are an excellent result for

the shareholders of each company. Courts have recognized that class counsel should not receive

a lesser fee for settling a case quickly because in many instances, such as in this litigation, “it may

be a relevant circumstance that counsel achieved a timely result for class members in need of

immediate relief.” Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1050 n.5 (9th Cir. 2002); see also

General Motors, 860 F.2d at 257-58 (“[T]he district court erred in basing its denial of a risk

multiplier on the fact that the parties settled at a relatively early stage in the litigation.”). As

another court noted, “because of the complexity and societal importance of stockholder and

derivative litigation, the most able counsel should be obtained. The attorney’s fees awarded should

reflect this goal.” Cohn, 375 F. Supp. 2d at 866.

       F.      Opportunity Cost Due to Acceptance of these Cases (Factor 4)

       Plaintiff’s Counsel was also precluded from other employment due to this litigation. As

set forth above, Plaintiff’s Counsel collectively expended approximately 1,084.5 hours litigating

this matter, which time could have been spent on other matters involving less or no risk. Litigating

these Actions under time pressure also precluded Plaintiffs’ Counsel from devoting resources to

other litigation and prosecuting additional cases. Indeed, Plaintiffs’ Counsel are boutique law


                                                  16
       Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 20 of 26



firms, and litigating these Actions in a successful manner required them to devote a significant

percentage of their respective firms’ man power and resources. This factor further supports

awarding the requested Fee and Expense Awards in full. See Denton v. Pennymac Loan Servs.,

LLC, No. 4:16cv32, 2017 U.S. Dist. LEXIS 74037, at *24 (E.D. Va. May 12, 2017) (accounting

for fact that counsel “is a small law firm and thus representing a client on a contingent fee or fee-

shifting basis necessarily involved loss of other opportunities.”).

       G.      Experience, Reputation and Ability of Plaintiffs’ Counsel (Factor 9)

       Plaintiffs’ Counsel have extensive experience in the field of shareholder and complex class

action litigation and submit that they are highly regarded in this specialized area of practice. As

reflected in each firm’s resume, their attorneys have obtained significant corporate benefits and

monetary recoveries for classes as sole or co-lead counsel in numerous complex class actions

across the nation. See Motion for Final Approval, Trepetin Decl. Exs. A to Exs. 9-12 (ECF No.

21-3 in the Colony Action; ECF No. 14-3 in the NRF Action; ECF No. 17-3 in the NSAM Action).

Mr. Dvores recognized as much in his objection papers. Dvores Objection at 11 (“I concede that

each of these firms is well qualified to serve as class action counsel based on their achievements

and participation in various class action cases involving complex issues and multi-million dollar

settlements for class members.”) (ECF No. 22 in the NSAM Action).

       The quality of opposing counsel is also relevant in assessing the quality of Plaintiffs’

Counsels’ work. See Reed v. Big Water Resort, LLC, No. 2:14-cv-01583-DCN, 2016 U.S. Dist.

LEXIS 187745, at *26 (D.S.C. May 26, 2016) (quoting Smith v. Krispy Kreme Doughnut Corp.,

No. 1:05CV00187, 2007 U.S. Dist. LEXIS 2392, at *6 (M.D.N.C. Jan. 10, 2007) (“Additional skill

is required when the opponent is a sophisticated corporation with sophisticated counsel.”)). Here,

Defendants were represented by prestigious, experienced and highly capable law firms with a




                                                 17
       Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 21 of 26



national reputation for vigorous advocacy in the defense of complex shareholder class and

derivative cases.12

                  THE REVISED FEE AND EXPENSE AWARD IS
                 REASONABLE UNDER A LODESTAR ANALYSIS
            APPLYING THE LOCAL RULES’ GUIDELINES IN APPENDIX B

       A.      The Revised Fee Requests are Reasonable Measured Against Plaintiffs’
               Counsels’ Lodestar

       Where, as here, there is no “common fund” out of which attorneys’ fees can be awarded,

the lodestar method is the appropriate method to measure a requested fee award. See e.g., Clark

v. Experian Info. Solutions, Inc., No. 8:00-1217-22, 2004 U.S. Dist. LEXIS 32063, at *41-45

(D.S.C. Apr. 22, 2004); In re Prudential Ins. Co. Am. Sales Practice Litig. Agent Actions, 148 F.3d

283, 333 (3rd Cir. 1998) (lodestar method appropriate “where the nature of the recovery does not

allow the determination of the settlement’s value necessary for application of the percentage-of-

recovery method.”); Amalgamated Clothing & Textile Workers Union v. Wal-Mart Stores, Inc., 54

F.3d 69, 73 (2d Cir. 1995) (affirming order awarding fees for enhanced disclosure based on

lodestar and multiplier).

       In calculating the lodestar amount (as reflected in the revised time and expenses affidavits

that comport with the format provided in Appendix B (see Trepetin Decl, Exs. 7 - 10), Plaintiffs’

Counsel have applied their regular hourly rates, which are reasonable for litigation of this nature

and are in line with rates approved by courts within the Fourth Circuit in securities class actions.

In re Microstrategy, Inc. Sec. Litig., 172 F. Supp. 2d 778, 788 & n.33 (E.D. Va. 2001) (suggesting


12
        Counsels’ experience and views as to what is appropriate fee award also should be afforded
significant weight. See e.g., Unite Nat’l Ret. Fund v. Watts, No. 04-CV-3603 (DMC), 2005 U.S.
Dist. LEXIS 26246, at *17-18 (D.N.J. Oct. 27, 2005) (awarding $9.2 million fee in non-pecuniary
corporate governance based settlement, and giving weight to fact that defendant agreed to pay the
fee “based on its perceived value of the settlement, that the fee negotiations were based upon a
knowledgeable analysis of the appropriate fee for the benefits achieved, and that the end result
reflects the parties’ experience as to what is appropriate and fair.”).

                                                18
       Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 22 of 26



plaintiff’s class action attorneys’ rates were reasonable where “the market for class action

attorneys is nationwide and populated by very experienced attorneys with excellent credentials,”

and rates were “not inconsistent with the rates charged by lawyers in large, prominent, and, as

here, expert law firms that typically represent defendants in securities class actions.”) (emphasis

added); Phillips v. Triad Guar. Inc., No. 1:09CV71, 2016 U.S. Dist. LEXIS 60950, at *23-24

(M.D.N.C. May 9, 2016) (same, referring to partners’ hourly rates of $640 to $880 per hour and

associates rates of $375 to $550 per hour); Brown v. Transurban USA, Inc., 318 F.R.D. 560, 575-

76 (E.D. Va. 2016) (holding “[a]n attorney’s actual billing rate provides a starting point for

purposes of establishing a prevailing market rate” and collecting cases within the Fourth Circuit

with approved rates ranging from up to $310 for paralegals, $700 for associates, and $975 for

partners) (internal quotation marks omitted); see also Spencer v. Comserv Corp., No. 4-84-794,

1986 U.S. Dist. LEXIS 15863, at *32-33 (D. Minn. Dec. 30, 1986) (“Compensating a nationally

recognized securities class action attorney at his hourly rate is entirely appropriate.”).13 These

rates also are appropriate even in light of Appendix B, which expressly provides that “[t]he Court

recognizes that there are attorneys for whom, and cases for which, the market rate differs from

these guideline rates.” Appendix B ¶ 3 n.*.




13
        Plaintiffs’ Counsels’ hourly rates are undoubtedly in line with or less than the rates charged
by Defendants’ counsel, which is a relevant consideration. See Chrapliwy v. Uniroyal, Inc., 670
F.2d 760, 768 n.18 (7th Cir. 1982) (“The rates charged by the defendant’s attorneys provide a
useful guide to rates customarily charged in this type of case. Also, when the defendant has hired
expensive, out of town counsel, the plaintiffs seem justified in saying that the nature of the case
required the skills of out of town specialists.”); Microstrategy, 172 F. Supp. 2d at 788 & n.33
(finding rates charged by plaintiff’s counsel in securities class action were warranted in part
because they were “not inconsistent with the rates charged by lawyers in large, prominent, and, as
here, expert law firms that typically represent defendants in securities class actions.”).



                                                 19
         Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 23 of 26



         Pursuant to the Court’s October 27 Order, in resubmitting the lodestar calculation,

Plaintiffs’ Counsel have prepared a table applying both: (i) their regular hourly rates, which are

reasonable for litigation of this nature and are in line with rates approved by other courts within

the Fourth Circuit in securities class actions; and (ii) the hourly rates set forth in Appendix B. For

the reasons set forth herein, while Plaintiffs’ Counsel do not believe the rates in Appendix B should

be applied here, even if they are, the requested fee awards are nevertheless fair after applying a

reasonable multiplier of 2.42, which is well within the range of multipliers often applied in

securities class action litigation.

 Name                                 Hours           Firm Lodestar         Appendix B Lodestar


 Monteverde & Associates PC           439.75          $261,687.50           $141,337.50

 Faruqi & Faruqi, LLP                 382.25          $230,545.00           $148,475.00


 Ademi & O’Reilly, LLP                211.50          $135,822.50           $85,027.50


 Brower Piven                         50.0            $34,160.00            $18,625.00


 Total                                1,084.5         $662,215.00           $393,465.00




         In this case, after deducting total expenses of $37,168.51, the total Fee and Expense

Awards requested are approximately 1.43 times Plaintiffs’ Counsels’ total lodestar for all three

cases utilizing their regular billing rates ($662,215.00). See Declaration of Yelena Trepetin in

Support of Plaintiffs’ Joint Motion for Final Approval of Class Action Settlements Filed in Each

of the Above-Referenced Actions ¶ 37 (ECF No. 21-3 in the Colony Action, ECF No. 14-3 in the

NRF Action, ECF No. 17-3 in the NSAM Action) and Trepetin Decl. Exs. 7-10. And, at the rates



                                                 20
       Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 24 of 26



set forth in Appendix B, the total Fee and Expense Awards requested amount to approximately

2.42 times Plaintiff’s Counsel’s total lodestar ($393,456.00). Thus, regardless of whether the

Court utilizes Plaintiffs’ Counsel’s regular billing rates or the Appendix B rates, the total Fee and

Expense Awards are justified when applying a reasonable multiplier in the range of those typically

applied in class action cases. “Under the lodestar method of calculation, the Court ‘multiplies the

number of hours reasonably expended on the litigation by a reasonable hourly rate.’” See Kay Co.

v. Equitable Prod. Co., 749 F. Supp. 2d 455, 470 (S.D. W. Va. 2010) (noting that “[c]ourts have

generally held that lodestar multipliers falling between 2 and 4.5 demonstrate a reasonable attorneys’

fee” and collecting cases in the Fourth Circuit with lodestar multipliers in this range); Boyd v.

Coventry Health Care Inc., 299 F.R.D. 451, 467 (D. Md. 2014) (same); Singleton v. Domino’s Pizza,

LLC, 976 F. Supp. 2d 665, 689 (D. Md. 2013) (same); Cohn v. Nelson, 375 F. Supp. 2d 844, 862

(E.D. Mo. 2005) (“In shareholder litigation, courts typically apply a multiplier of 3 to 5 to

compensate counsel for the risk of contingent representation.”); Beckman v. KeyBank, N.A., 293

F.R.D. 467, 481 (S.D.N.Y. 2013) (“Courts regularly award lodestar multipliers of up to eight times

the lodestar, and in some cases, even higher multipliers.”) (collecting cases)).

               PLAINTIFFS RENEW THE MOTION THAT THE CLASS BE
                    CERTIFIED FOR SETTLEMENT PURPOSES

       As reflected in the Motion for Final Approval, Plaintiffs previously established the elements

necessary under Fed. R. Civ. P. 23 to certify the Settlement Classes. See Preliminary Approval

Orders ¶¶ 5-7 (ECF No. 19 in the Colony Capital Action; ECF No. 11 in the NRF Action; ECF No.

16 in the NSAM Action). As shown in the Motion for Final Approval, nothing has occurred that

indicates that the Classes do not continue to meet the requirements of Fed. R. Civ. P. 23 and, for all

of the reasons set forth in Plaintiffs’ Joint Motion for Preliminary Approval and as held in the




                                                 21
       Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 25 of 26



Preliminary Approval Orders, incorporated herein by reference, Plaintiffs request that the Court

grant final certification of the Settlement Classes.

                                           CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court enter the proposed

Final Orders and Judgments: (i) finally approving the proposed Settlements; (ii) certifying the

proposed Settlement Classes for settlement purposes; and (iii) approving the requested revised Fee

and Expense Awards.

DATED: November 6, 2017

                                                BROWER PIVEN, A Professional Corporation

                                                 /s/ Yelena Trepetin
                                                 Charles J. Piven (Md. Fed. Bar No. 00967)
                                                 Yelena Trepetin (Md. Fed. Bar No. 28706)
                                                 1925 Old Valley Road
                                                 Stevenson, MD 21153
                                                 Tel: (410) 332-0030
                                                 Fax: (410) 685-1300
                                                 Email: piven@browerpiven.com
                                                         trepetin@browerpiven.com

                                                 Attorneys for Plaintiffs William Carter, Jack
                                                 Boothe and Cindy Kessler

                                                 Juan E. Monteverde (pro hac vice)
                                                 MONTEVERDE & ASSOCIATES PC
                                                 The Empire State Building
                                                 350 Fifth Avenue, Suite 4405
                                                 New York, NY 10118
                                                 Tel.: (212) 971-1341
                                                 Fax: (212) 971-1341
                                                 Email: jmonteverde@monteverdelaw.com

                                                 Attorneys for Plaintiff William Carter

                                                 Nadeem Faruqi
                                                 James M. Wilson, Jr.
                                                 FARUQI & FARUQI, LLP
                                                 685 Third Avenue, 26th Floor
                                                 New York, NY 10017


                                                  22
Case 1:16-cv-03742-JKB Document 29-1 Filed 11/07/17 Page 26 of 26



                              Tel: (212) 983-9330
                              Fax: (212) 983-9331
                              Email: nfaruqi@faruqilaw.com
                                      jwilson@faruqilaw.com

                              Attorneys for Plaintiff Jack Boothe

                              Guri Ademi
                              Shpetim Ademi
                              ADEMI & O’REILLY, LLP
                              3620 East Layton Ave.
                              Cudahy, WI 53110
                              Tel: (414) 482 -8000
                              Fax: (414) 482-8001
                              gademi@ademilaw.com
                              sademi@ademilaw.com

                              Attorneys for Plaintiff Cindy Kessler




                               23
